Case 3:23-cr-00449-SI Document 12 Filed 12/05/23 Page 1 of 3


    United States District Court
                        FOR THE
             NORTHERN DISTRICT OF CALIFORNIA

                  VENUE: SAN FRANCISCO
                                                                      CR23-00449SI


                       UNITED STATES OF AMERICA,
                                        V.
                                                                                 FILED
                                                                                 Dec 05 2023
                             LEION BUTLER,
                           a/k/a Christopher Butler,                     Mark B. Busby
                             a/k/a Leniyah Butler,                 CLERK, U.S. DISTRICT COURT
                                                                NORTHERN DISTRICT OF CALIFORNIA
                                                                        SAN FRANCISCO




                             DEFENDANT(S).


                            INDICTMENT


                    18 U.S.C. § 1111 – Second Degree Murder;
      18 U.S.C. § 924(d)(1), 21 U.S.C. § 853, 28 U.S.C. § 2461(c) – Forfeiture




        A true bill.

        /s/ Foreperson of the Grand Jury
                                                            Foreman

        Filed in open court this __________
                                 5th        day of

        _________________________________.
        December 2023

                                       S. Ybarra
         ____________________________________________
                                                 Clerk
         ____________________________________________

                                             Bail, $ _____________
                                                     No Bail


        Hon. Alex G. Tse, United States Magistrate Judge
                 Case 3:23-cr-00449-SI Document 12 Filed 12/05/23 Page 2 of 3




 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney                                                 FILED
 2

 3                                                                          Dec 05 2023

 4                                                                     Mark B. Busby
                                                                 CLERK, U.S. DISTRICT COURT
 5
                                                              NORTHERN DISTRICT OF CALIFORNIA
 6                                                                    SAN FRANCISCO
 7

 8                                   UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                        )   CASE NO.        CR23-00449SI
                                                      )
12           Plaintiff,                               )   VIOLATIONS:
                                                      )
13      v.                                            )   18 U.S.C. § 1111 – Second Degree Murder;
                                                      )   18 U.S.C. § 924(d)(1), 21 U.S.C. § 853, 28 U.S.C.
14   LEION BUTLER,                                    )
                                                      )   § 2461(c) – Forfeiture
       a/k/a Christopher Butler,
15     a/k/a Leniyah Butler,                          )
                                                      )   SAN FRANCISCO VENUE
16           Defendant.                               )
                                                      )
17                                                    )

18
19                                             INDICTMENT
20 The Grand Jury charges:

21 COUNT ONE:              (18 U.S.C. § 1111 – Second Degree Murder)
22           On or about November 12, 2023, in the Northern District of California, within the boundaries of
23 an area administered by the Presidio Trust, a place within the special maritime and territorial jurisdiction

24 of the United States, the defendant,

25                                              LEION BUTLER,
                                             a/k/a Christopher Butler,
26                                             a/k/a Leniyah Butler,
27 with malice aforethought did unlawfully kill H.W., by discharging a firearm, in violation of Title 18,

28


     INDICTMENT
                Case 3:23-cr-00449-SI Document 12 Filed 12/05/23 Page 3 of 3




 1 United States Code, Sections 7(3) and 1111.

 2 FORFEITURE ALLEGATION:                 (18 U.S.C. §§ 924, 981; 28 U.S.C. § 2461)

 3          The allegations contained in this Indictment are re-alleged and incorporated by reference for the

 4 purpose of alleging forfeiture pursuant to the provisions of 18 U.S.C. § 924, 18 U.S.C. § 981, and 28

 5 U.S.C. § 2461.

 6          Upon a conviction of the offense alleged in Count One above, the defendant,

 7                                              LEION BUTLER,
                                             a/k/a Christopher Butler,
 8                                             a/k/a Leniyah Butler,
 9 shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), any firearm

10 and ammunition involved in the commission of the offense and, pursuant to 18 U.S.C. § 981(a)(1)(C) and

11 28 U.S.C. § 2461(c), all property constituting and derived from proceeds the defendant obtained, directly

12 and indirectly, as the result of the violation. Such property includes but is not limited to any firearm and

13 any cell phone seized in the investigation.

14          All pursuant to 18 U.S.C. §§ 924, 981; 28 U.S.C. § 2461; and Federal Rule of Criminal
15 Procedure 32.2.

16

17 DATED: December 5, 2023                                       A TRUE BILL.
18
19                                                               ______/s/___________________
                                                                 FOREPERSON
20
                                                                 San Francisco
21
     ISMAIL J. RAMSEY
22
     United States Attorney
23

24 /s/ Kelsey C. Davison
   KELSEY C. DAVIDSON
25 Assistant United States Attorney

26

27

28


     INDICTMENT                                      2
